             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 1 of 18



 1                                                       THE HONORABLE BENJAMIN H. SETTLE
 2

 3

 4

 5

 6

 7                                      UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
 9                                              AT TACOMA
10
     BRUCE BECKER,                                          Case No. 3:20-CV-05221-BHS
11
                            Plaintiff,                      DEFENDANT NOVARTIS
12                                                          PHARMACEUTICALS
     v.                                                     CORPORATION’S ANSWER AND
13                                                          JURY DEMAND
     NOVARTIS PHARMACEUTICALS
14   CORPORATION,
15                          Defendant.
16            Pursuant to Rule 12 of the Federal Rules of Civil Procedure, Defendant Novartis

17   Pharmaceuticals Corporation (“NPC”), by and through its counsel, respectfully responds by

18   generally denying all allegations in the Complaint and Jury Demand (“the Complaint”) of

19   plaintiff Bruce Becker, except as set forth below. Silence as to any allegations shall constitute

20   a denial:

21            1.       The allegations in Paragraph 1 of the Complaint constitute legal conclusions to

22   which no response is required. To the extent that a response is required, NPC denies the

23   allegations contained in Paragraph 1 of the Complaint.

24            2.       NPC lacks sufficient knowledge or information to form a belief as to the truth

25   of the allegations in Paragraph 2 of the Complaint and therefore denies the same. NPC

26   specifically denies that any injuries alleged in the Complaint were caused by Tasigna®.
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                            Attorneys at Law
                                                                               1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                  Seattle, WA 98101-4010
                                                                                Telephone: 206-622-1711
      05221- BHS - 1
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 2 of 18



 1            3.       NPC denies that any injuries alleged in the Complaint were caused by Tasigna®
 2   and denies that the plaintiff is entitled to any of the relief sought, as alleged in Paragraph 3 of
 3   the Complaint.
 4                                        JURISDICTION AND VENUE
 5            4.       NPC admits that NPC is a Delaware corporation with its principle place of
 6   business located in New Jersey. The remaining allegations in Paragraph 4 constitute legal
 7   conclusions to which no response is required. To the extent that a response is deemed required,
 8   NPC denies the allegations in Paragraph 4.
 9            5.       The allegations in Paragraph 5 constitute legal conclusions to which no
10   response is required. To the extent that a response is deemed required, NPC denies the
11   allegations in Paragraph 5.
12            6.       The allegations in paragraph 6 constitute legal conclusions to which no
13   response is required. To the extent a response is deemed required, NPC denies the allegations
14   in Paragraph 6.
15                                                 THE PARTIES
16            The Plaintiff
17            7.       NPC lacks sufficient knowledge or information to form a belief as to the truth
18   of the allegations in Paragraph 7 of the Complaint and therefore denies the same.
19            The Defendant
20            8.       NPC admits that it is a Delaware corporation with its principle place of business
21   located in East Hanover, New Jersey. NPC admits that it researches, develops, markets, and
22   sells the cancer medicine bearing the name Tasigna®, as well as numerous other medications.
23   NPC denies the remaining allegations in Paragraph 8 of the Complaint.
24                                         GENERAL ALLEGATIONS
25            9.       The allegations in paragraph 9 constitute legal conclusions to which no
26   response is required. To the extent a response is deemed required, NPC denies the allegations
                                                                         SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                          Attorneys at Law
                                                                             1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                Seattle, WA 98101-4010
                                                                              Telephone: 206-622-1711
      05221- BHS - 2
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 3 of 18



 1   in Paragraph 9.
 2            10.      The allegations in paragraph 10 constitute legal conclusions to which no
 3   response is required. To the extent a response is deemed required, NPC denies the allegations
 4   in Paragraph 10.
 5            11.      The allegations in paragraph 11 constitute legal conclusions to which no
 6   response is required. To the extent a response is deemed required, NPC denies the allegations
 7   in Paragraph 11.
 8            12.      The allegations in paragraph 12 constitute legal conclusions to which no
 9   response is required. To the extent a response is deemed required, NPC denies the allegations
10   in Paragraph 12.
11            13.      The allegations in paragraph 13 constitute legal conclusions to which no
12   response is required. To the extent a response is deemed required, NPC denies the allegations
13   in Paragraph 13.
14            14.      The allegations in paragraph 14 constitute legal conclusions to which no
15   response is required. To the extent a response is deemed required, NPC denies the allegations
16   in Paragraph 14.
17            15.      The allegations in paragraph 15 constitute legal conclusions to which no
18   response is required. To the extent a response is deemed required, NPC denies the allegations
19   in Paragraph 15.
20            16.      The allegations in paragraph 16 constitute legal conclusions to which no
21   response is required. To the extent a response is deemed required, NPC denies the allegations
22   in Paragraph 16.
23            17.      The allegations in paragraph 17 constitute legal conclusions to which no
24   response is required. To the extent a response is deemed required, NPC denies the allegations
25   in Paragraph 17.
26         ///
                                                                         SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                          Attorneys at Law
                                                                             1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                Seattle, WA 98101-4010
                                                                              Telephone: 206-622-1711
      05221- BHS - 3
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 4 of 18



 1            18.      The allegations in paragraph 18 constitute legal conclusions to which no
 2   response is required. To the extent a response is deemed required, NPC denies the allegations
 3   in Paragraph 18.
 4            19.      NPC admits that Tasigna® is a cancer medication that is FDA-approved to treat
 5   patients with Philadelphia chromosome positive chronic myeloid leukemia (“Ph+CML”).
 6   NPC affirmatively avers that chronic myeloid leukemia is a cancer that occurs when the blood-
 7   forming cells of the bone marrow make too many white blood cells, including immature ones.
 8   PH+CML is caused by a genetic abnormality that produces an abnormal chromosome in bone
 9   marrow stem cells – the Philadelphia chromosome (abbreviated ‘Ph chromosome” or simply
10   “Ph”). The Ph chromosome carries a gene called BCR-ABL, which produces a protein called
11   Bcr-Abl. The Bcr-Abl protein triggers bone marrow to keep making abnormal versions of
12   white blood cells, which are the leukemia cells. The BCR-ABL gene and Bcr-Abl protein are
13   the key causes of Ph+CML. The resulting uncontrolled growth of these white blood cells will
14   cause a large increase in their concentration in the blood. Over time, these white blood cells
15   crowd out healthy red blood cells and platelets as well as normal white cells. Tasigna® is an
16   inhibitor of the BCR-ABL Kinase. Tasigna® is considered a tyrosine kinase inhibitor (“TKI”
17   medicine). NPC denies all allegations of Paragraph 19 of the complaint that are inconsistent
18   with its affirmative averment above.
19            20.      NPC admits that Gleevec® was first FDA approved in 2001 and that it is a drug
20   that was and is distributed by NPC in the United States. The remaining allegations contained
21   in Paragraph 20 of the Complaint are impertinent and immaterial as the allegations do not
22   allege that any injuries resulted from Gleevec® treatment. Moreover, the allegations are vague
23   in that they do not identify the payer in their hypothetical allegations regarding “cost.” NPC
24   admits that the list price of Gleevec® pills has increased in the fifteen years since market
25   introduction in 2001 by about threefold. NPC admits that the Wholesale Acquisition Cost for
26   twelve months of Gleevec® treatments for CML, if a patient is fully compliant, has at times
                                                                        SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                         Attorneys at Law
                                                                            1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                               Seattle, WA 98101-4010
                                                                             Telephone: 206-622-1711
      05221- BHS - 4
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 5 of 18



 1   been more than $100,000. NPC lacks knowledge and information regarding what Gleevec®
 2   “costs” any particular patient. NPC denies the remaining allegations contained in Paragraph
 3   20 as they relate to NPC.
 4            21.      NPC admits that, as of July 4, 2015 the basic compound patent for Gleevec® in
 5   the United States was no longer in effect. NPC admits that there are generic versions of
 6   imatinib available. NPC lacks sufficient knowledge or information to form a belief as to the
 7   truth of the allegations in the last clause in Paragraph 21 of the Complaint and therefore denies
 8   the same. NPC denies any remaining allegations in Paragraph 21 of the Complaint.
 9            22.      NPC admits that it was involved in the development of the cancer medicine
10   Tasigna®. NPC affirmatively avers that, in clinical trials, Tasigna® was shown to be an
11   effective treatment for Philadelphia chromosome-positive CML in chronic phase based on (1)
12   an early response to treatment at 3 months; (2) a major molecular response (MMR) at 1 year;
13   and (3) a sustained molecular response by 5 years. More patients treated with Tasigna®
14   reached these milestones than with Gleevec®, based on results from various clinical trials.
15   NPC admits that the quoted language contained in Paragraph 22 has been reported, but cannot
16   confirm the accuracy of the quotation. NPC affirmatively avers that the quotation is presented
17   in a misleading way in Paragraph 22. NPC denies the remaining allegations in Paragraph 22
18   of the Complaint.
19            23.      NPC denies the allegations in Paragraph 23 of the Complaint. Answering
20   further, to the extent the allegations in Paragraph 23 refer to extrinsic documents not attached
21   to or part of this Complaint, NPC states that such documents speak for themselves. NPC denies
22   the allegations to the extent they misstate or mischaracterize such documents.
23            24.      NPC denies the allegations in Paragraph 24 of the Complaint. Answering
24   further, to the extent the allegations in Paragraph 24 refer to extrinsic documents not attached
25   to or part of this Complaint, NPC states that such documents speak for themselves. NPC denies
26   the allegations to the extent they misstate or mischaracterize such documents.
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                            Attorneys at Law
                                                                               1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                  Seattle, WA 98101-4010
                                                                                Telephone: 206-622-1711
      05221- BHS - 5
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 6 of 18



 1            25.      NPC admits that it received a letter dated July 29, 2010 from the FDA that
 2   requested that NPC remove certain content then on the Tasigna® website. NPC admits that the
 3   language contained in quotations in Paragraph 25 appears in that letter, but affirmatively avers
 4   that the quotations are presented in a misleading way in Paragraph 25. NPC otherwise denies
 5   the allegations in Paragraph 25 of the Complaint.
 6            26.      NPC denies the allegations of Paragraph 26 of the Complaint.
 7            27.      The allegations contained in Paragraph 27 relate to conduct that allegedly
 8   occurred in Japan. NPC, which does not operate in Japan, lacks knowledge or information
 9   sufficient to form a belief as to the allegations contained in Paragraph 27 and, therefore, denies
10   the same.
11            28.      NPC denies the allegations contained in Paragraph 28 of the Complaint.
12            29.      NPC admits that it identified a weak safety signal of peripheral arterial
13   occlusive disease (“PAOD”) in Tasigna® users and that NPC disclosed this to the FDA in
14   March 2011. NPC sought and FDA approved of the addition of PAOD to Tasigna®’s US
15   package insert in November 2011. NPC denies the remaining allegations contained in
16   Paragraph 29 of the Complaint.
17            30.      NPC denies the allegations in Paragraph 30 of the Complaint. Answering
18   further, to the extent that the allegations in Paragraph 30 refer to documents not attached to or
19   part of this Complaint, NPC states that such documents speak for themselves. NPC denies the
20   allegations to the extent they misstate or mischaracterize such documents.
21            31.      NPC denies the allegations contained in Paragraph 31 of the Complaint.
22   Answering further, to the extent that the allegations in Paragraph 31 refer to documents not
23   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
24   mischaracterize such documents.
25            32.      NPC denies the allegations in the first sentence of Paragraph 32 of the
26   Complaint. NPC does not operate in Canada and, therefore, denies that these actions are
                                                                    SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                     Attorneys at Law
                                                                        1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                           Seattle, WA 98101-4010
                                                                         Telephone: 206-622-1711
      05221- BHS - 6
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 7 of 18



 1   attributable to NPC. Answering further, to the extent that the allegations in Paragraph 32 refer
 2   to documents not attached to or part of this Complaint, NPC states that such documents speak
 3   for themselves. NPC denies the allegations to the extent they misstate or mischaracterize such
 4   documents.
 5            33.      On April 12, 2013, Novartis Pharmaceuticals Canada, Inc., sent a letter to
 6   Canadian health care providers regarding “Updated information regarding the possible risk of
 7   developing atherosclerosis-related conditions with the use of Tasigna® (nilotinib).” NPC
 8   admits that it did not send a similar letter to health care providers in the United States on April
 9   12, 2013. NPC denies any remaining allegations in Paragraph 33 of the Complaint. NPC does
10   not operate in Canada and, therefore, denies that these actions are attributable to NPC. NPC
11   denies any allegations contained in Paragraph 33 that are inconsistent with the statements set
12   forth in response to that paragraph above.
13            34.      NPC denies the allegations contained in Paragraph 34 of the Complaint.
14            35.      NPC denies the allegations contained in Paragraph 35 of the Complaint.
15            36.      NPC denies the allegations contained in Paragraph 36 of the Complaint.
16            37.      NPC denies the allegations in the first sentence of Paragraph 37. The remaining
17   allegations in Paragraph 37 of the Complaint constitute legal conclusions to which no response
18   is required. To the extent a response is required, NPC denies the allegations.
19            38.      NPC denies the allegations contained in Paragraph 38 of the Complaint.
20   Answering further, to the extent that the allegations in Paragraph 38 refer to documents not
21   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
22   mischaracterize such documents.
23            39.      NPC denies the allegations contained in Paragraph 39 of the Complaint.
24   Answering further, to the extent that the allegations in Paragraph 39 refer to documents not
25   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
26   mischaracterize such documents.
                                                                             SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                              Attorneys at Law
                                                                                 1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                    Seattle, WA 98101-4010
                                                                                  Telephone: 206-622-1711
      05221- BHS - 7
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 8 of 18



 1            40.      NPC denies the allegations contained in Paragraph 40 of the Complaint.
 2   Answering further, to the extent that the allegations in Paragraph 40 refer to documents not
 3   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
 4   mischaracterize such documents.
 5            41.      NPC denies the allegations contained in Paragraph 41 of the Complaint.
 6            42.      NPC denies the allegations contained in Paragraph 42 of the Complaint.
 7            43.      NPC denies the allegations contained in Paragraph 43 of the Complaint.
 8   Answering further, to the extent that the allegations in Paragraph 43 refer to documents not
 9   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
10   mischaracterize such documents.
11            44.      NPC denies the allegations contained in Paragraph 44 of the Complaint.
12   Answering further, to the extent that the allegations in Paragraph 44 refer to documents not
13   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
14   mischaracterize such documents.
15            45.      NPC denies the allegations contained in Paragraph 45 of the Complaint.
16   Answering further, to the extent that the allegations in Paragraph 45 refer to documents not
17   attached to or part of this Complaint, NPC denies the allegations to the extent they misstate or
18   mischaracterize such documents.
19            46.      NPC denies the allegations contained in Paragraph 46 of the Complaint.
20            47.      NPC denies the allegations contained in Paragraph 47 of the Complaint.
21            48.      NPC denies the allegations contained in Paragraph 48 of the Complaint.
22            49.      NPC lacks sufficient knowledge or information to form a belief as to the truth
23   of the allegations in Paragraph 49 of the Complaint and therefore denies the same.
24            50.      NPC lacks sufficient knowledge or information to form a belief as to the truth
25   of the allegations in Paragraph 50 of the Complaint and therefore denies the same. NPC denies
26   that Tasigna®’s FDA approved labeling is or was ever inadequate.
                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                             Attorneys at Law
                                                                                1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                   Seattle, WA 98101-4010
                                                                                 Telephone: 206-622-1711
      05221- BHS - 8
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 9 of 18



 1            51.      NPC denies the allegations contained in Paragraph 51 of the Complaint.
 2            52.      NPC denies the allegations contained in Paragraph 52 of the Complaint.
 3            53.      NPC denies the allegations contained in Paragraph 53 of the Complaint.
 4            54.      NPC denies the allegations contained in Paragraph 54 of the Complaint. NPC
 5   specifically denies that plaintiffs are entitled to punitive damages.
 6                                            CLAIMS FOR RELIEF
 7            COUNT I: PRODUCTS LIABILITY ACT -- FAILURE TO WARN
 8            55.      In response to Paragraph 55 of the Complaint, NPC incorporates by reference
 9   its responses to the allegations in paragraphs 1-54 of the Complaint.
10            56.      NPC admits that it is currently and between 2007 and the present was engaged
11   in selling, marketing, promoting, and distributing Tasigna® in the United States. NPC admits
12   that prior to 2007 it was involved in developing the cancer medicine Tasigna®. NPC denies
13   all the remaining allegations contained in Paragraph 56 of the Complaint.
14            57.      NPC admits that it is currently and between 2007 and the present was engaged
15   in selling, marketing, promoting, and distributing Tasigna® in the United States. The remaining
16   allegations in Paragraph 57 set forth conclusions of law for which no response is required. To
17   the extent a response is required, NPC denies the allegations in Paragraph 57 of the Complaint.
18            58.      The allegations in Paragraph 58 of the Complaint constitute legal conclusions
19   to which no response is required. To the extent a response is deemed required, NPC denies the
20   allegations in Paragraph 58.
21            59.      NPC denies the allegations contained in Paragraph 59 of the Complaint.
22            60.      NPC denies the allegations contained in Paragraph 60 of the Complaint.
23            61.      NPC denies the allegations contained in Paragraph 61 of the Complaint.
24            62.      NPC denies the allegations contained in Paragraph 62 of the Complaint.
25            63.      NPC lacks sufficient knowledge or information to form a belief as to the truth
26   of the allegations in Paragraph 63 of the Complaint and therefore denies the same.
                                                                          SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                           Attorneys at Law
                                                                              1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                 Seattle, WA 98101-4010
                                                                               Telephone: 206-622-1711
      05221- BHS - 9
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 10 of 18



 1            64.      NPC lacks sufficient knowledge or information to form a belief as to the truth
 2   of the allegations in Paragraph 64 of the Complaint and therefore denies the same.
 3            65.      NPC lacks sufficient knowledge or information to form a belief as to the truth
 4   of the allegations in Paragraph 65 of the Complaint and therefore denies the same.
 5            66.      NPC denies that that there are any defects associated with Tasigna®. NPC lacks
 6   sufficient knowledge or information to form a belief as to the truth of the remaining allegations
 7   in Paragraph 66 of the Complaint and therefore denies the same.
 8            67.      NPC denies the allegations contained in Paragraph 67 of the Complaint.
 9            68.      NPC denies the allegations contained in Paragraph 68 of the Complaint.
10            69.      The allegations in Paragraph 69 of the Complaint constitute legal conclusions
11   to which no response is required. To the extent a response is deemed required, NPC denies the
12   allegations in Paragraph 69.
13            70.      NPC denies the allegations contained in Paragraph 70 of the Complaint.
14            71.      NPC denies the allegations contained in Paragraph 71 of the Complaint.
15            72.      NPC denies the allegations contained in Paragraph 72 of the Complaint.
16            73.      NPC denies the allegations contained in Paragraph 73 of the Complaint.
17            74.      NPC denies the allegations contained in Paragraph 74 of the Complaint.
18            In response to the WHEREFORE paragraph following paragraph 74, NPC demands
19   that judgment be entered in its favor and against plaintiff; that plaintiff’s Complaint be
20   dismissed, with prejudice; and that NPC be awarded costs of suit and reasonable attorney’s
21   fees as allowed by law and such further and additional relief as this Court may deem just and
22   proper. NPC specifically denies that plaintiffs are entitled to punitive damages.
23                                         COUNT II: NEGLIGENCE
24            75.      In response to Paragraph 75 of the Complaint, NPC incorporates by reference
25   its responses to the allegations in Paragraph 1-74 of the Complaint.
26
                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                             Attorneys at Law
                                                                                1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                   Seattle, WA 98101-4010
                                                                                 Telephone: 206-622-1711
      05221- BHS - 10
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 11 of 18



 1            76.      NPC admits that it is currently and between 2007 and the present was engaged
 2   in selling, marketing, promoting, and distributing Tasigna® in the United States. NPC lacks
 3   sufficient knowledge or information to form a belief as to the truth of the remaining allegations
 4   in Paragraph 76 of the Complaint and therefore denies the same.
 5            77.      The allegations in Paragraph 77 of the Complaint constitute legal conclusions
 6   to which no response is required. To the extent that a response is required, NPC denies the
 7   allegations contained in Paragraph 77 of the Complaint.
 8            78.      The allegations in Paragraph 78 of the Complaint constitute legal conclusions
 9   to which no response is required. To the extent that a response is required, NPC denies the
10   allegations contained in Paragraph 78 of the Complaint.
11            79.      NPC denies the allegations contained in Paragraph 79 of the Complaint.
12            80.      NPC denies the allegations contained in Paragraph 80 of the Complaint.
13            81.      NPC denies the allegations contained in Paragraph 81 of the Complaint.
14            82.      The allegations in Paragraph 82 of the Complaint constitute legal conclusions
15   to which no response is required. To the extent that a response is required, NPC denies the
16   allegations contained in Paragraph 82 of the Complaint.
17            83.      The allegations in Paragraph 83 of the Complaint constitute legal conclusions
18   to which no response is required. To the extent that a response is required, NPC denies the
19   allegations contained in Paragraph 83 of the Complaint.
20            84.      NPC denies the allegations contained in Paragraph 84 of the Complaint.
21            85.      NPC denies the allegations contained in Paragraph 85 of the Complaint and
22   each of its subparts.
23            86.      NPC denies the allegations contained in Paragraph 86 of the Complaint.
24            87.      NPC lacks sufficient knowledge or information to form a belief as to the truth
25   of the allegations in Paragraph 87 of the Complaint and therefore denies the same.
26         88.    NPC denies the allegations contained in Paragraph 88 of the Complaint.
                                                                      SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                        Attorneys at Law
                                                                           1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                              Seattle, WA 98101-4010
                                                                            Telephone: 206-622-1711
      05221- BHS - 11
     PDX\119685\163329\JCA\28046065.1
             Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 12 of 18



 1              89.    NPC denies the allegations contained in Paragraph 89 of the Complaint.
 2              90.    NPC denies the allegations contained in Paragraph 90 of the Complaint.
 3              91.    NPC denies the allegations contained in Paragraph 91 of the Complaint.
 4              92.    NPC denies the allegations contained in Paragraph 92 of the Complaint.
 5              In response to the WHEREFORE paragraph following paragraph 92, NPC demands
 6   that judgment be entered in its favor and against plaintiff; that plaintiff’s Complaint be
 7   dismissed, with prejudice; and that NPC be awarded costs of suit and reasonable attorney’s
 8   fees as allowed by law and such further and additional relief as this Court may deem just and
 9   proper. NPC specifically denies that plaintiffs are entitled to punitive damages.
10              Every allegation in the Complaint that is not specifically and expressly admitted in this
11   Answer is hereby specifically and expressly denied, including any allegations contained in the
12   headings of Plaintiff’s complaint.
13                                      AFFIRMATIVE DEFENSES
14              1.     The Complaint, in whole or part, fails to state a claim or cause of action against
15   NPC upon which relief can be granted.
16              2.     Plaintiff’s claims are barred by their failure to join necessary or indispensable
17   parties.
18              3.     The doctrines contained in Restatement (Second) of Torts § 402A, Comment
19   K, bar plaintiff’s claims against NPC in whole or in part.
20              4.     The doctrine(s) contained in Restatement (Third) of Torts, Product Liability §§
21   4 and 6, bar plaintiff’s claims against NPC in whole or in part.
22              5.     Applicable statutes of limitations or repose bar plaintiff’s claims in whole or in
23   part.
24              6.     The equitable doctrine of laches, waiver and/or estoppel bar plaintiff’s claims
25   in whole or in part.
26         ///
                                                                               SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                                Attorneys at Law
                                                                                   1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                      Seattle, WA 98101-4010
                                                                                    Telephone: 206-622-1711
      05221- BHS - 12
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 13 of 18



 1            7.       Plaintiff’s misuse or abnormal use of the products or failure to follow
 2   instructions bar the plaintiff’s claims in whole or in part.
 3            8.       The alleged injuries to plaintiff were proximately caused by the misuse, abuse,
 4   alteration, and/or failure to properly utilize, maintain, or care for the products by persons other
 5   than NPC.
 6            9.       Plaintiff’s claims are barred, in whole or in part, because the plaintiff assumed
 7   the risks disclosed by the product labeling, by the prescribing physicians, or by other persons
 8   or entities.
 9            10.      Any alleged negligent or culpable conduct of NPC, none being admitted, was
10   so insubstantial as to be insufficient to be a proximate or substantial contributing cause of
11   plaintiff’s alleged injuries.
12            11.      To the extent plaintiff used the product for “off-label” purposes, plaintiff’s
13   claims are barred.
14            12.      The “learned intermediary” doctrine bars plaintiff’s claims.
15            13.      Plaintiff’s claims are barred, in whole or in part, because the product at issue
16   was designed, manufactured, marketed and labeled with proper warnings, information,
17   cautions and instructions, in accordance with the state of the art and the state of scientific and
18   technological knowledge.
19            14.      Plaintiff’s claims are barred, in whole or in part, because the labels and
20   information accompanying the products at issue were approved by the U.S. Food and Drug
21   Administration or other appropriate regulatory agencies.
22            15.      Plaintiff’s claims are barred, in whole or in part, by applicable products liability
23   statutes or other law providing absolute or limited immunity or a disputable presumption of
24   immunity against liability for pharmaceutical products approved by the FDA.
25            ///
26         ///
                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                                 Attorneys at Law
                                                                                    1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                       Seattle, WA 98101-4010
                                                                                     Telephone: 206-622-1711
      05221- BHS - 13
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 14 of 18



 1              16.    Plaintiff’s claims are barred, in whole or in part, because the products at issue
 2   were not defective or unreasonably dangerous in that they complied with, at all relevant times,
 3   all applicable government safety standards.
 4              17.    Plaintiff’s claims are preempted, in whole or in part, by applicable federal law
 5   relating to the design, testing, producing, manufacturing, labeling, distributing, modeling,
 6   processing, and supply of Tasigna®.
 7              18.    Plaintiff’s claims are barred, in whole or in part, because plaintiff’s injuries, if
 8   any, were the result of conduct of plaintiff, independent third parties, and/or events that were
 9   extraordinary under the circumstances, not foreseeable in the normal course of events, and/or
10   independent, intervening and superseding causes of the alleged injuries, including but not
11   limited to plaintiff’s pre-existing medical conditions.
12              19.    If plaintiff suffered injury or damages as alleged, which is denied, such injury
13   or damage resulted from acts or omissions of persons or entities for which NPC is neither liable
14   nor responsible or resulted from diseases and/or causes that are not related to or connected
15   with any product sold, distributed, or manufactured by NPC. Such acts or omissions on the
16   part of others or diseases or causes constitute an independent, intervening and sole proximate
17   cause of plaintiff’s alleged injury or damages.
18              20.    Plaintiff’s claims are barred, in whole or in part, because plaintiff’s alleged
19   injuries, if caused by Tasigna®, which is denied, were the result of plaintiff’s own idiosyncratic
20   reactions.
21              21.    Plaintiff failed to mitigate, which limits plaintiff’s damages, if any, in whole or
22   in part.
23              22.    Tasigna® was fit and proper for its intended purposes and the social utility of
24   the drugs outweighed any possible risk inherent in the use of the products.
25              23.    NPC has no legal relationship or privity with plaintiff and owes no duty to
26   plaintiff by which liability could be attributed to it.
                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                                 Attorneys at Law
                                                                                    1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                       Seattle, WA 98101-4010
                                                                                     Telephone: 206-622-1711
      05221- BHS - 14
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 15 of 18



 1            24.      The claims of plaintiff should be diminished in whole or in part in the amount
 2   paid to plaintiff by any party or non-party with whom plaintiffs have settled or may settle.
 3            25.      Plaintiff’s claims are barred, reduced and/or limited pursuant to applicable
 4   statutory and common law regarding limitations of awards, caps on recovery, and setoffs.
 5            26.      Notwithstanding the claims and contentions of plaintiff, plaintiff received all or
 6   substantially all of the benefit from the products that plaintiff hoped and intended to receive,
 7   and, to that extent, any damages and/or restitution that plaintiffs might be entitled to recover
 8   from NPC must be correspondingly reduced.
 9            27.      Plaintiff’s causes of action are barred in whole or in part by plaintiff’s own
10   contributory/comparative negligence.
11            28.      To the extent that the plaintiff is entitled to recover damages for medical
12   expenses incurred prior to the conclusion of trial, such recovery is limited to the amounts paid
13   and accepted as payment in full by any insurance benefit.
14            29.      Plaintiff is barred from recovering any amounts that have been and/or will be
15   covered by insurance required by and/or available pursuant to the Patient Protection and
16   Affordable Care Act, 42 U.S.C. § 18001 et seq. (2010) (“ACA”).
17            30.      Any damages to which the plaintiff otherwise would be entitled shall be
18   reduced by any amount which the plaintiff has received or with reasonable certainty will
19   receive in the future from insurance required by the ACA. This answering defendant is entitled
20   to an offset and/or credit for any portion of the plaintiff’s medical expenses payable and/or
21   within the coverage of insurance required by the ACA.
22            31.      Plaintiff’s recovery, if any, shall be reduced by those payments that plaintiff
23   receives from collateral sources.
24            32.      If plaintiff has been injured or damaged, no injury or damages being admitted,
25   such injuries were not caused by an NPC product.
26         ///
                                                                               SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                                Attorneys at Law
                                                                                   1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                      Seattle, WA 98101-4010
                                                                                    Telephone: 206-622-1711
      05221- BHS - 15
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 16 of 18



 1            33.      Plaintiff’s claims for punitive damages are barred because such an award would
 2   violate NPC’s due process, equal protection and/or other rights under the United States
 3   Constitution, the Washington Constitution, and/or other applicable state constitutions.
 4            34.      Plaintiff’s claims for punitive damages are barred because plaintiff has failed
 5   to allege conduct warranting imposition of punitive damages under New Jersey law,
 6   Washington law and/or other applicable state laws.
 7            35.      Plaintiff’s claim for punitive damages is preempted, in whole or in part, by
 8   applicable federal law and New Jersey and/or Washington law.
 9            36.      To the extent that New Jersey law applies to plaintiff’s claims, plaintiff is
10   limited in the amount, if any, plaintiff may recover for punitive damages under N.J.S.A. §
11   2A:15-5.9 et seq.
12            37.      To the extent that New Jersey law applies to plaintiff’s claims, plaintiff is barred
13   from recovering punitive damages under N.J.S.A. § 2A:58C-5(c) because Tasigna® was
14   subject to pre-market approval by the FDA, was approved by the FDA, and/or was generally
15   recognized as safe and effective pursuant to regulations and conditions established by the FDA.
16            38.      Punitive damages against NPC cannot be recovered based on alleged fraudulent
17   representation to the FDA. See, e.g., Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341,
18   343 (2001).
19            39.      Plaintiff’s claims for punitive damages are barred in whole or in part because
20   plaintiff is not entitled to compensatory damages, no fault or other admissions being made.
21            40.      Plaintiff’s claims are barred to the extent that plaintiff seeks relief under laws
22   of states that do not govern plaintiff’s claims.
23            41.      Plaintiff’s claims are barred because plaintiff’s own negligence proximately
24   caused and contributed to the injuries complained of and, therefore, the damages which might
25   be recovered by plaintiff in this action, if any, should be reduced in proportion to the plaintiff’s
26   own negligence.
                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                                 Attorneys at Law
                                                                                    1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                       Seattle, WA 98101-4010
                                                                                     Telephone: 206-622-1711
      05221- BHS - 16
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 17 of 18



 1            42.      Plaintiff’s common law claims are barred, in whole or part, by application of
 2   Wash. Rev. Code §§ 7.72.010-.060.
 3            43.      NPC hereby gives notice that it intends to rely upon such other defenses as may
 4   become available or apparent during the course of discovery and thus reserves its right to
 5   amend this Answer to assert such defenses.
 6                                           JURY DEMAND
 7            Defendant Novartis Pharmaceuticals Corporation demands a jury trial as to all issues
 8   so triable.
 9            Dated this 29th day of May, 2020.
10                                                   SCHWABE, WILLIAMSON & WYATT, P.C.
11
                                                     By:    /s/ Jennifer L. Campbell
12                                                          Jennifer L. Campbell, WSBA #31703
                                                            Email: jcampbell@schwabe.com
13                                                          1420 5th Avenue, Suite 3400
                                                            Seattle, WA 98101-4010
14                                                          Attorneys for Defendant,
                                                            Novartis Pharmaceuticals Corporation
15

16                                                   HOLLINGSWORTH LLP

17
                                                     By:    /s/ Robert E. Johnston
18                                                   By:    /s/ Donald R. McMinn
                                                     By:    /s/ Andrew L. Reissaus
19                                                          Robert E. Johnston, Bar No. 447475
                                                            Email rjohnston@hollingsworthllp.com
20                                                          Donald R. McMinn, Bar No. 426894
                                                            Email:DMcMinn@hollingsworthllp.com
21                                                          Andrew L. Reissaus, Bar No. 999036
                                                            Email: ARessaus@hollingsworthllp.com
22                                                          1350 I Street, N.W.
                                                            Washington, D.C. 20005
23                                                          Attorneys to be Admitted Pro Hac Vice
                                                            for Defendant Novartis Pharmaceuticals
24                                                          Corporation
25

26
                                                                             SCHWABE, WILLIAMSON & WYATT, P.C.
      DEFENDANT NOVARTIS PHARMACEUTICALS                                              Attorneys at Law
                                                                                 1420 5th Avenue, Suite 3400
      ANSWER AND JURY DEMAND: CASE NO. 3:20-CV-                                    Seattle, WA 98101-4010
                                                                                  Telephone: 206-622-1711
      05221- BHS - 17
     PDX\119685\163329\JCA\28046065.1
            Case 3:20-cv-05221-BHS Document 7 Filed 05/29/20 Page 18 of 18



 1                                      CERTIFICATE OF SERVICE
 2            The undersigned declares under penalty of perjury, under the laws of the State of
 3   Washington, that the following is true and correct:
 4
              That on the 29th day of May, 2020, I arranged for service of the foregoing
 5
     DEFENDANT NOVARTIS PHARMACEUTICALS CORPORATION’S ANSWER AND
 6
     JURY DEMAND to the parties to this action via the Court’s CM/ECF system as follows:
 7
               Brad J. Moore, WSBA #21802
 8             Email: brad@stritmatter.com
               STRITMATTER KESSLER
 9             WHELAN KOEHLER MOORE
               3600 15TH Ave., W., Ste. 300
10             Seattle, WA 98119
               Phone: (206) 448-1777
11
               Attorneys for Plaintiff
12

13

14                                                /s/ Jennifer L. Campbell
                                                  Jennifer L. Campbell, WSBA #31703
15

16

17

18

19

20

21

22

23

24

25

26

                                                                       SCHWABE, WILLIAMSON & WYATT, P.C.
      CERTIFICATE OF SERVICE - 1                                                 Attorneys at Law
                                                                                 U.S. Bank Centre
                                                                           1420 5th Avenue, Suite 3400
                                                                             Seattle, WA 98101-4010
                                                                             Telephone 206-622-1711
     PDX\119685\163329\JCA\28046065.1
